        Case 1:25-cv-00381-ABJ          Document 92         Filed 03/31/25      Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                        Plaintiffs,
        v.
                                                         Case No. 25-cv-381-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


               PLAINTIFFS’ MOTION FOR A BRIEFING SCHEDULE ON
                        DEFENDANTS’ MOTION TO STAY

       This morning, the defendants notified the plaintiffs of their intent to file a motion for an

emergency stay directly in the court of appeals without first moving in this Court as Federal Rule

of Appellate Procedure 8 requires. See Fed. R. App. P. 8(a) (stating that a party seeking a stay

pending appeal “must” file a “motion” in the district court first unless “impracticable”). Their

stated basis was that they had already complied with Rule 8 by including one sentence about a stay

in their opposition to the preliminary injunction motion, filed five weeks ago, which addressed a

proposed order that the plaintiffs withdrew before this Court ruled. See Dkt. 31 at 40 (one-sentence

request for a stay); Dkt. 79 (plaintiffs’ operative proposed order at the time of this Court’s order).

The defendants stated that by not mentioning a stay in its preliminary injunction order, this Court

had implicitly denied a motion to stay that the defendants never filed.

       Plaintiffs therefore respectfully request that this Court enter an order clarifying that because

the defendants have not yet filed a motion to stay, the Court has not yet ruled on any such motion.

The plaintiffs also request an opportunity to respond to any motion that the defendants file, but

recognizing the need for expedition, are prepared to do so on a very short timeline. The plaintiffs


                                                  1
        Case 1:25-cv-00381-ABJ           Document 92        Filed 03/31/25       Page 2 of 3




therefore request that the Court set an expedited briefing schedule under which they would be

required to file their response by midnight on the day following the filing of the defendants’

motion, and the defendants be ordered to file their reply by midnight of the day after that.

       To facilitate an orderly appeal, the plaintiffs request that the deadline for the defendants to

report compliance with the Court’s order, listed in paragraph 8 of the preliminary injunction, Dkt.

88, be tolled while the Court decides the motion to stay. As they informed the defendants, the

plaintiffs also remain willing to agree to an administrative stay of the preliminary injunction until

this Court has ruled, as long as the prior consent order and agreement on contracts is continued.

       This schedule will allow the briefing on the stay motion to proceed in a highly expedited

fashion, while still permitting a proper record to be formed for an appeal. See Fed. R. App. P.

8(a)(2)(A)(ii) (requiring that the court of appeals be provided with the “reasons given by the district

court for its action” on the motion to stay).


Dated: March 31, 2025                                 Respectfully submitted,

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                                                  2
Case 1:25-cv-00381-ABJ   Document 92     Filed 03/31/25     Page 3 of 3




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                               3
